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                                 No. 21-9001
                         __________________________

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                     __________________________

                            Harvey Miguel Robinson,

                                                   Appellant,

                                        v.

                Secretary, Pennsylvania Department of Corrections;
                            Superintendent, Phoenix SCI;
                           Superintendent, Rockview SCI;
                         Lehigh County District Attorney,

                                              Appellees.
                         __________________________

                 On Appeal from the United States District Court
                    for the Eastern District of Pennsylvania
                       __________________________

                          REPLY IN SUPPORT OF
                     INITIAL BRIEF FOR APPELLANT
                        __________________________


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                                       ARGUMENT
       The Commonwealth does not contest that the state-court opinion denying relief

was based on an unreasonable application of Simmons v. South Carolina, 512 U.S. 154

(1994), and Kelly v. South Carolina, 534 U.S. 246 (2002), and was unreasonable in light of

the record. The Commonwealth argues instead that the error was harmless under Brecht

v. Abrahamson, 507 U.S. 619 (1993), but, as explained below, its harmlessness argument

fails for several reasons.

       First, the Commonwealth argues that because this was a highly aggravated case

(a fact Mr. Robinson does not contest), the error was harmless. ECF No. 47 at 8. The

Commonwealth’s argument might make sense in a situation where there was no jury

question: the crimes were so aggravated, the argument goes, the jury would have sentenced him to

death in any case. See Richmond v. Polk, 375 F.3d 309, 335 (4th Cir. 2004) (where there was

no jury question, finding Simmons error harmless because crime was so aggravated). But

here, the jury heard all the evidence in aggravation and the Commonwealth’s future-

dangerousness-emphasizing closing argument, absorbed all that evidence and argument,

and still asked about the meaning of a life sentence. (And as the Commonwealth

acknowledges, ECF No. 47 at 5, the jury found three mitigating circumstances.) Having

heard all the aggravating evidence and argument, the jury wanted to know if parole was

a possibility if it sentenced Mr. Robinson to life. See Carpenter v. Vaughn, 296 F.3d 138,

157 (3d Cir. 2002) (finding error in trial court’s misleading response to jury question

concerning parole: “It is apparent that the jury’s concern centered on the availability of

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a sentence of life imprisonment without parole.”).

      Mr. Robinson’s prosecutor sent a future-dangerousness message throughout his

evidence, his cross-examination, and his argument. The jury’s question shows it got the

message and was worried he would be paroled.

      Essentially, the question the Fourth Circuit asked in Richmond—and the question

any court would ask were it to conduct a harmlessness analysis for a Simmons violation—

is whether the crime is so aggravated that the jury would necessarily sentence the de-

fendant to death even if it had received a Simmons instruction. But here, that question

does not exist because the jury already answered it: having digested all that evidence

and argument in aggravation, the jury still wanted to know if Mr. Robinson might one

day be paroled if it sentenced him to life (and in Pennsylvania, the refusal of only one

juror renders a death sentence impossible). Therefore, this Court cannot say that the

error was harmless.

      Second, the Commonwealth refers to what it calls “two isolated statements” (“I

don’t see how I can guarantee—that’s the present law. But what if the legislature

changes the law? I can’t guarantee that. That’s the way the law is now.” “Who knows

two years from now if they’ll change the law. I can’t tell you.” (209a–210a)). ECF No.

47 at 8. The word “isolated” suggests that they were hidden or not noteworthy. But that

could not be further from the truth. The statements could not have been more promi-

nent. They occurred in direct response to a jury question about the meaning of a life

sentence, a question asked after the jury had absorbed all the Commonwealth’s evidence
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and argument in aggravation. The erroneous and misleading statements could not have

been more conspicuous.

       Third, the Commonwealth argues that the trial court’s erroneous statements must

be considered harmless when “[a]rrayed against the vast body of evidence presented

over the course of this trial.” ECF No. 47 at 8. But this argument refutes itself: the jury

heard “the vast body of evidence presented over the course of this trial” and still ex-

pressed concern as to whether Mr. Robinson could be paroled if he were sentenced to life.

       Fourth, the Commonwealth argues that the trial court’s reformulated response

cured any error. ECF No. 47 at 8–9 (“I’m to tell you, and it’s accurate, ‘Life is life.’

There won’t be any parole. Life is life.” 211a.) But this statement could not have cured

the absence of a proper Simmons instruction. It is feeble and was offered reluctantly,

suggesting the court doubted it was true. The Commonwealth’s argument might make

more sense if the court’s statement were actually clear and forceful, e.g., “You must

disregard what I just said, which was wrong. There cannot be any parole.” Such a state-

ment would at least have the virtues of (1) clarifying that the first statement was wrong

and must be forgotten, see Francis v. Franklin, 471 U.S. 307, 322 (1985) (even existence

of “contradictory instructions” elsewhere in charge doesn’t cure error if contradictory

language leaves jurors equally free to apply and follow infirm instruction), and (2) actu-

ally sounding like a statement about the law rather than a prediction (“won’t be any pa-

role” is a forecast; “can’t be any parole” would be a clear statement of law). The trial

court thus did not actually “correct[] itself,” as the Commonwealth argues, ECF No. 47
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at 8, and so did not cure the error.

       Fifth, the Commonwealth argues that the question whether Simmons error can

ever be harmless is “settled” by the Fourth Circuit’s decision in Richmond, 375 F.3d at

334–35, that such error is subject to harmlessness review. ECF No. 47 at 9. This asser-

tion is erroneous. The Fourth Circuit itself acknowledged that there is disagreement on

this issue:

       [W]e note that the Tenth Circuit has recently called into question whether
       a Simmons violation is subject to Brecht’s harmless error analysis because
       the Supreme Court has never conducted such an analysis in the three cases
       where it has found a Simmons violation. Mollett v. Mullin, 348 F.3d 902, 921
       n.6 (10th Cir. 2003) (“It is not entirely clear whether a Simmons error is
       subject to harmless error analysis . . . [given that] the Supreme Court has
       never performed a harmless error analysis in any of the three cases where
       the Court found a Simmons violation.”); id. at 925 n.2 (Murphy, J., dissent-
       ing) (“In light of the nature of the due process problem identified in Sim-
       mons, however, it is not surprising that the Court has never subjected such
       an error to a harmless-error analysis.”).
Richmond, 375 F.3d at 334.

       As Mr. Robinson has already argued, see ECF No. 37-1 at 31–36: the Supreme

Court of the United States has never applied harmlessness analysis to a Simmons claim,

directed a lower court to do so, or even suggested that a lower court could do so; the

Supreme Court routinely so directs or suggests in instances where harmlessness analysis

is or may be appropriate; the Supreme Court of South Carolina does not consider Sim-

mons error susceptible to harmlessness analysis; the Arizona Supreme Court acknowl-

edges that it isn’t clear whether Simmons error can be harmless, and has not applied

harmlessness review to Simmons errors; and this Court has never subjected Simmons error

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to harmlessness analysis. In arguing that Simmons error should be deemed susceptible to

harmlessness review, the Commonwealth points to no decision or court other than the

Fourth’s Circuit’s decision in Richmond. The Fourth Circuit is an outlier and its analysis

should be rejected. Because Simmons error poisons the jury’s future-dangerousness as-

sessment and thus raises a serious due process problem, it is structural error to which

harmlessness analysis cannot apply.

      It is also worth keeping in mind that in the one case the Commonwealth points

to for support, Richmond, there was no jury question about the meaning of life impris-

onment. Even if Simmons error is susceptible to harmlessness analysis, neither Mr. Rob-

inson nor the Commonwealth can find a case where Simmons error was found harmless

in the presence of a jury question about the meaning of a life sentence.

      Sixth, the Commonwealth argues that “a habeas petition should succeed only

when the court is in ‘grave doubt’ as to the harmlessness of the error”—such doubt

existing where “the matter is so evenly balanced that the court feels itself in ‘virtual

equipo[i]se’ regarding the error’s harmlessness.” ECF No. 47 at 10 (quoting Fullwood v.

Lee, 290 F.3d 663, 679 (4th Cir. 2002)). For the reasons given, doubt about this error’s

harmlessness far exceeds virtual equipoise. It is certain that the error was not harmless.



                              *       *     *      *      *




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      For all these reasons and those expressed in the Initial Brief for Appellant, this

Court should vacate the district court’s denial of the petition for writ of habeas corpus

and remand for the grant of relief.



                                         Respectfully submitted,


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limitation of Fed. R. App. P. 32(a)(7)(B) because this brief contains 1405 words, as

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                                          /s/ Eric Montroy
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      I, Eric Montroy, hereby certify that I have filed electronically the foregoing and

served copies upon filing user Heather F. Gallagher, Esq., through the Court’s Elec-

tronic Case Filing system.


                                            /s/ Eric Montroy
                                            Eric Montroy


Dated: August 30, 2023
